                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                      v.                              )      No. 08-04052-03-CR-C-SOW
                                                      )
Marquita Marie Roberts                                )
                                                      )
                              Defendant.              )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Marquita Marie Roberts, by consent, appeared before the undersigned on
October 20, 2009, pursuant to Fed. R. Crim. P. 11, Local Rule 72(j)(26), and 28 U.S.C. § 636,
and has entered a plea of guilty to Count 1    of the indictment filed on November 20, 2008.
After cautioning and examining the defendant, under oath, in accordance with the requirements
of Rule 11, it was determined that the guilty plea was made with full knowledge of the charges
and the consequences of pleading guilty, was voluntary, and that the offenses to which the
defendant has plead guilty are supported by a factual basis for each of the essential elements of
the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Marquita Marie Roberts be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its filing will prevent the defendant from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 20th day of October, 2009, at Jefferson City, Missouri.



                                               /s/   William A. Knox
                                               WILLIAM A. KNOX
                                               United States Magistrate Judge




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